                                        Case 2:09-cv-02901-PSG-E Document 942 Filed 10/24/16 Page 1 of 14 Page ID #:26104



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                                                DENTONS US LLP
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                                                Telephone: (213) 623-9300
                                            5   Facsimile: (213) 623-9924
                                            6   Attorneys for Receiver
                                            7   Robert P. Mosier
                                                                          UNITED STATES DISTRICT COURT
                                            8
                                                                        CENTRAL DISTRICT OF CALIFORNIA
                                            9
                                           10   SECURITIES AND EXCHANGE                 CASE NO. 09-CV-2901 PSG (EX)
601 SOUTH FIGUEROA STREET, SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                                COMMISSION,                             Assigned to: Hon. Philip S. Gutierrez
                                           11
                                                                 Plaintiff,             NOTICE OF MOTION AND
         DENTONS US LLP




                                           12                                           MOTION FOR ORDER:
           (213) 623-9300




                                           13               v.                          (1) APPROVING FINAL ACCOUNT
                                                                                        AND REPORT;(2) APPROVING
                                           14   PRIVATE EQUITY MANAGEMENT               FEES AND COSTS;
                                           15   GROUP, LLC; PRIVATE EQUITY              (3) APPROVING WIND UP TASKS,
                                                MANAGEMENT GROUP, INC.; AND             TRANSFERS, AND FINAL
                                           16   DANNY PANG,                             DISTRIBUTION;
                                           17                                           (4) DISCHARGING RECEIVER;
                                                                 Defendants.            (5) RELIEVING RECEIVER OF
                                           18                                           ALL DUTIES AND LIABILITIES;
                                           19                                           (6) CONFIRMING RECEIVER’S
                                                                                        CONTROL OVER CERTAIN 401(K)
                                           20                                           PROCEEDS; (7) APPROVING
                                           21                                           NOTICE UNDER LOCAL RULE
                                                                                        66-7; AND (8) FOR RELATED
                                           22                                           RELIEF; MEMORANDUM OF
                                           23                                           POINTS AND AUTHORITIES
                                           24
                                                                                        [Filed concurrently with Final Account
                                                                                        and Report; Declarations of Robert P.
                                           25                                           Mosier and Nick S. Pujji; Proposed
                                           26
                                                                                        Order]
                                                                                        DATE:       December 19, 2016
                                           27
                                                                                        TIME:       1:30 p.m.
                                           28                                           PLACE:      Courtroom 880-Roybal

                                                                                                        NOTICE OF MOTION AND MOTION
                                                                                                           CASE NO. 09-CV-2901 PSG (EX)
                                                101668346\V-1
                                         Case 2:09-cv-02901-PSG-E Document 942 Filed 10/24/16 Page 2 of 14 Page ID #:26105



                                             1               TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                             2               PLEASE TAKE NOTICE that on December 19, 2016, at 1:30 p.m. or as
                                             3   soon thereafter as counsel may be heard, in Courtroom 880 - Roybal of the above-
                                             4   entitled Court, located at 255 East Temple Street, Los Angeles, CA, 90012,
                                             5   Receiver Robert P. Mosier (the “Receiver”), the Court-appointed permanent
                                             6   receiver of Private Equity Management Group, Inc., Private Equity Management
                                             7   Group, LLC, and their subsidiaries and affiliates (collectively, “PEMGroup” or the
                                             8   “Receivership Estate”), will and hereby does move the Court for the following
                                             9   relief:
                                            10               1.   An Order approving the Receiver’s Final Account and Report, which
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 LOS ANGELES , CALIFORNIA 90017-5704




                                            11   is attached as Exhibit 1 to the Receiver’s Memorandum of Points and Authorities in
         DENTONS US LLP




                                            12   support of this Motion.
            (213) 623-9300




                                            13               2.   An Order approving and confirming all actions and activities taken by
                                            14   or on behalf of the Receiver and all payments made by the Receiver in connection
                                            15   with the administration of the Receivership Estate.
                                            16               3.   An Order approving and authorizing payment of the Receiver’s,
                                            17   professionals’, and counsel’s fees and expenses to be incurred during the period
                                            18   October 1, 2016 through closing of the Receivership Estate, barring any unexpected
                                            19   circumstances, not to exceed $165,000.
                                            20               4.   An Order approving and authorizing the Receiver to distribute all
                                            21   assets of the Receivership Estate remaining after payment of all administrative
                                            22   expenses, including all fees and expenses of the Receiver and the Receiver’s
                                            23   professionals incurred through the closing of the Receivership Estate, to the
                                            24   Investor Claimants1 of PEMGroup in amounts that are consistent with the
                                            25   projections set forth in the Final Account and Report.
                                            26
                                                 1
                                            27         The Investor Claimants include: Hua Nan Commercial Bank, Ltd.; Hua Nan
                                                 Investment Trust Co.; Standard Chartered Bank (Taiwan), Ltd.; Bank SinoPac;
                                            28   Taichung Commercial Bank; EnTie Commercial Bank; KGI Bank (formerly
                                                                                             -1-
                                                                                                                 NOTICE OF MOTION AND MOTION
                                                                                                                    CASE NO. 09-CV-2901 PSG (EX)
                                                 101668346\V-1
                                         Case 2:09-cv-02901-PSG-E Document 942 Filed 10/24/16 Page 3 of 14 Page ID #:26106



                                             1               5.   An Order approving and authorizing the Receiver to assign the
                                             2   Receivership Estate’s interest in the Russian Angel investment directly to Investor
                                             3   Claimants KGI Bank (55.1%) and EnTie Bank (44.9%), and assign the
                                             4   Receivership Estate’s interest in the Frontier Oceana investment directly to Investor
                                             5   Claimant Standard Chartered Bank (Taiwan). (NOTE: Certain Investor Claimants
                                             6   may retain Mosier & Company, Inc. and/or Dentons US LLP (or other
                                             7   professionals Mosier & Company, Inc. may choose to retain) directly to oversee
                                             8   certain assets post-Receivership).
                                             9               6.   An Order approving and authorizing the Receiver to assign pending
                                            10   litigation settlements to an escrow agent selected by the Investor Claimants. If
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 LOS ANGELES , CALIFORNIA 90017-5704




                                            11   necessary, approval and authority for the Receiver to assign pending settlements
         DENTONS US LLP




                                            12   with William Knudson, of former PEMGroup trustee Daily & Knudson, and former
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                                            13   PEMGroup directors Nasar Aboubakare and Todd Gillespie, to allow these
                                            14   settlements to be collected and enforced in full. (NOTE: Certain Investor
                                            15   Claimants may retain Mosier & Company, Inc. and/or Dentons US LLP (or other
                                            16   professionals Mosier & Company, Inc. may choose to retain) directly to oversee
                                            17   certain litigation settlements post-Receivership).
                                            18               7.   An Order approving and authorizing the Receiver to transfer all rights
                                            19   and licenses, including any electronic or software licenses held by PEMGroup
                                            20   and/or the Receivership Estate to the Investor Claimants.
                                            21               8.   An Order approving and authorizing the Receiver to, at his discretion,
                                            22   abandon, destroy, store and/or transfer PEMGroup documents, records, and
                                            23   computers, and to provide access to such documents, records, and computers to
                                            24   Investor Claimants.
                                            25               9.   An Order confirming the Receiver’s right to take possession of the
                                            26   balances in the PEMGroup 401(k) accounts for former PEMGroup
                                            27
                                                 Cosmos Bank Taiwan); Core Tech Resources, Inc., and a group of 42 individual
                                            28   investors residing in Taiwan.
                                                                                             -2-
                                                                                                                  NOTICE OF MOTION AND MOTION
                                                                                                                     CASE NO. 09-CV-2901 PSG (EX)
                                                 101668346\V-1
                                         Case 2:09-cv-02901-PSG-E Document 942 Filed 10/24/16 Page 4 of 14 Page ID #:26107



                                             1   directors/employees Leon Chan and Wu Wei, and authorizing the Receiver to
                                             2   terminate the PEMGroup 401(k) Plan.
                                             3               10.   An Order confirming that neither the Receiver nor any agent,
                                             4   employee, member, officer, independent contractor, attorney or representative of
                                             5   the Receiver shall have any liability to any person or entity for any action taken in
                                             6   good faith in connection with carrying out the Receiver’s administration of this
                                             7   Receivership Estate, including serving as the trustee for trusts associated with
                                             8   PEMGroup, and the exercise of any powers, duties and responsibilities in
                                             9   connection therewith.
                                            10               11.   An Order, effective upon completion of the administration of the
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                                            11   Receivership Estate and distribution of remaining funds in the Receiver’s
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                                            12   possession and control, providing (a) that the Receiver, his agents, employees,
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                                            13   members, officers, independent contractors, attorneys and representatives are:
                                            14   (i) discharged; (ii) released from all claims and liabilities arising out of and/or
                                            15   pertaining to the Receivership herein; (iii) relieved of all duties and responsibilities
                                            16   pertaining to the Receivership previously established in this action; and (iv)
                                            17   authorized to close and/or dissolve PEMGroup entities; and (b) discharging the
                                            18   Receiver as the trustee for any trusts associated with PEMGroup.
                                            19               12.   An Order providing for this Court to retain jurisdiction over any and
                                            20   all matters relating to the Receiver and the Receivership Estate, including any
                                            21   matters relating to the distribution of funds received by the Receiver in connection
                                            22   with his obligations as Receiver or otherwise received after the Receivership is
                                            23   closed, and further providing that to the extent any dispute arises concerning the
                                            24   Receiver’s administration of the Receivership Estate or to the extent any person or
                                            25   entity seeks to pursue or assert any claim or action against the Receiver or any
                                            26   agent, employee, member, officer, independent contractor, attorney or
                                            27   representative of the Receiver, arising out of or related to this Receivership, the
                                            28   Court shall retain jurisdiction to hear and resolve any such dispute or claim.
                                                                                              -3-
                                                                                                                   NOTICE OF MOTION AND MOTION
                                                                                                                      CASE NO. 09-CV-2901 PSG (EX)
                                                 101668346\V-1
                                         Case 2:09-cv-02901-PSG-E Document 942 Filed 10/24/16 Page 5 of 14 Page ID #:26108



                                             1               13.   An Order approving notice of the hearing on this Motion under Local
                                             2   Rule 66-7 so that notice of the hearing on this Motion is deemed sufficient if served
                                             3   on the remaining parties to the action and any known potentially interested parties,
                                             4   including Investor and Non-Investor Claimants, and with at least 50 days of notice
                                             5   prior to the hearing on this Motion.
                                             6               14.   An Order for any other and further relief as may be reasonable or
                                             7   appropriate in connection with the wind up and closure of the Receivership Estate
                                             8   and discharge of the Receiver.
                                             9               This Motion is made following the conference of counsel pursuant to Local
                                            10   Rule 7-3, which took place on June 15, 2016. (Pujji Decl., ¶2.) As described, the
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                                            11   SEC does not intend to oppose this Motion. Id.
         DENTONS US LLP




                                            12               This Motion is made pursuant to Local Civil Rule 66-7(c), (d), (e) and (f),
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                                            13   and is based upon this Notice of Motion and Motion, the Memorandum of Points
                                            14   and Authorities, the Declarations of Receiver Robert P. Mosier and Nick S. Pujji,
                                            15   and exhibits thereto, the Proposed Order, on such pleadings and files of the Court in
                                            16   this action, including without limitation the Receiver’s nineteen Status Reports, and
                                            17   the addenda and supplement thereto, the Receiver’s prior Applications for Fees and
                                            18   Costs, and upon such other pleadings and oral and documentary evidence as may be
                                            19   presented at or before the time of the hearing on the Motion.
                                            20               PLEASE TAKE FURTHER NOTICE that
                                            21               1.    Any party seeking to object to the Receiver’s Motion and/or the
                                            22   Receiver’s Final Account and Report should do so by filing a written objection with
                                            23   the above-referenced Court (Clerk, US District Court, Edward R. Roybal Federal
                                            24   Building and Courthouse 3, 255 East Temple Street, Los Angeles, CA, 90012) on
                                            25   or before November 28, 2016, and serve the Receiver’s above-listed Counsel with
                                            26   a copy of such objection. IF YOU DO NOT OBJECT, NO ACTION IS
                                            27   REQUIRED.
                                            28
                                                                                               -4-
                                                                                                                    NOTICE OF MOTION AND MOTION
                                                                                                                       CASE NO. 09-CV-2901 PSG (EX)
                                                 101668346\V-1
                                         Case 2:09-cv-02901-PSG-E Document 942 Filed 10/24/16 Page 6 of 14 Page ID #:26109



                                             1               2.   Copies of this Motion, the Receiver’s Final Account and Report, and
                                             2   supporting documents will be provided to any interested party upon receipt of a
                                             3   written request which may be sent to: Mosier & Company, Inc., Attn: Nancy
                                             4   Michenaud, 3151 Airway Avenue, Suite A-1, Costa Mesa, CA 92626, USA;
                                             5   Facsimile: 1.714.432.7329; Electronic Mail: nmichenaud@mosierco.com.
                                             6

                                             7   Dated: October 24, 2016
                                             8                                           DENTONS US LLP
                                             9
                                                                                         By: /s/Nick S. Pujji
                                            10
601 SOUTH FIGUEROA STREET , SUITE 2500




                                                                                            NICK S. PUJJI
 LOS ANGELES , CALIFORNIA 90017-5704




                                            11
                                                                                            Attorneys for Receiver
         DENTONS US LLP




                                            12
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                                                                                            Robert P. Mosier
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                                                                                                                 NOTICE OF MOTION AND MOTION
                                                                                                                    CASE NO. 09-CV-2901 PSG (EX)
                                                 101668346\V-1
                                         Case 2:09-cv-02901-PSG-E Document 942 Filed 10/24/16 Page 7 of 14 Page ID #:26110



                                             1                     MEMORANDUM OF POINTS AND AUTHORITIES
                                             2   I.          PRELIMINARY STATEMENT
                                             3               Since his appointment in this SEC Enforcement Action on April 27, 2009,
                                             4   Receiver Robert P. Mosier (the “Receiver”), the Court-appointed permanent
                                             5   receiver of Private Equity Management Group, Inc., Private Equity Management
                                             6   Group, LLC, and their subsidiaries and affiliates (collectively, “PEMGroup” or the
                                             7   “Receivership Estate”), and his team, have worked diligently to preserve, manage,
                                             8   transfer, sell, and distribute assets for the benefit of parties who were the victims of
                                             9   PEMGroup’s prior operations. Based on the Receiver’s administration and
                                            10   resolution of the vast majority of the Receivership’s assets, claims, and affairs over
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                                            11   the past seven years -- and upon input from investors -- the Receiver believes it is
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                                            12   now appropriate to wind up and close the Receivership Estate.2
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                                            13               The Receiver’s Final Account and Report, and exhibits thereto, are
                                            14   attached hereto as Exhibit 1. (Mosier Decl., ¶2.) Based on the Receiver’s Final
                                            15   Account and Report, and this Motion, the Receiver respectfully requests an Order:
                                            16   (1) approving the Final Account and Report; (2) approving fees and costs from
                                            17   October 1, 2016 through the closing of the Receivership Estate; (3) approving the
                                            18   Receiver’s stated wind up tasks, transfers of assets, settlements, rights and licenses,
                                            19   and the final distribution of funds; (4) discharging the Receiver; (5) relieving the
                                            20   Receiver of all duties and liabilities; (6) confirming the Receiver’s control over
                                            21

                                            22   2
                                                        A summary of the Receiver’s activities prior to the Final Account and Report
                                            23   are presented in the Receiver’s nineteen Status Reports, and the addenda and
                                                 supplement thereto (see Dkt. #s 34, 66, 147, 180, 245, 284, 348, 390, 399, 459, 494,
                                            24   546, 550, 573, 608, 660, 705, 772, 827, 845, 868, 885, 923, 923), as well as the
                                            25   Receiver’s prior Applications for Fees and Costs (see Dkt. #s 116, 121, 144, 242,
                                                 259, 281, 294, 300, 322, 359, 386, 394, 413, 418, 430, 455, 467, 477, 491, 515,
                                            26   527, 541, 554, 560, 570, 574, 586, 590, 598, 600, 604, 615, 650, 652, 661, 665,
                                            27   682, 702, 723, 737, 768, 771, 795, 796, 804, 805, 813, 822, 833, 835, 838, 843,
                                                 846, 848, 850, 853, 857, 860, 863, 869, 874, 878, 881, 886, 888, 896, 897, 899,
                                            28   904, 907, 908, 915, 917, 927, 929.)
                                                                                             -1-
                                                                                                         MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                                    CASE NO. 09-CV-2901 PSG (EX)
                                                 101668346\V-1
                                         Case 2:09-cv-02901-PSG-E Document 942 Filed 10/24/16 Page 8 of 14 Page ID #:26111



                                             1   certain 401(k) proceeds held in the accounts of Leon Chan and Wu Wei; (7)
                                             2   approving the notice of this Motion provided by the Receiver under Local Rule 66-
                                             3   7; and (8) all other stated relief necessary to wind up and close the Receivership
                                             4   Estate, as presented in the accompanying Proposed Order.
                                             5   II.         THE COURT SHOULD APPROVE THE RECEIVER’S FINAL
                                             6               ACCOUNT AND REPORT
                                             7               The Court has wide latitude in supervising the Receiver and may provide for
                                             8   the administration of the Receivership as it deems appropriate. Securities and
                                             9   Exchange Commission v. Capital Consultants, LLC, 397 F.3d 733, 738 (9th Cir.
                                            10   2005); 13 Moore’s Federal Practice, § 66.06[4][a], p. 66-22 (Matthew Bender 3d
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 LOS ANGELES , CALIFORNIA 90017-5704




                                            11   ed. Rev. 2015). As part of that discretion, the Court may review and approve the
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                                            12   Receiver’s reports of activities in order to confirm his activities during the course of
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                                            13   the Receivership. See 2 Clark on Receivers § 383.1, pp. 643-644 (3rd ed. 1992)
                                            14   (“A receiver’s account and report is for the purpose of informing the appointing
                                            15   court and parties interested of the receiver’s stewardship. Since the receiver is the
                                            16   court’s officer, the court may at its own instance approve or disapprove the report
                                            17   of the receiver”). Moreover, Court approval of the Receiver’s actions and requests
                                            18   is consistent with federal Receivership practice as required by Federal Rule of Civil
                                            19   Procedure, Rule 66. See 2 Clark on Receivers, § 383.1 (3d ed. 1992).
                                            20               Based on the activities, figures, achievements, and wind up plan presented in
                                            21   the Receiver’s Final Account and Report, the Court should exercise its authority to
                                            22   approve and confirm the Final Account and Report, and grant the accompanying
                                            23   Proposed Order directing the wind up of the Receiver Estate, discharging and
                                            24   releasing the Receiver, and terminating and dissolving all PEMGroup entities and
                                            25   trusts. The Receiver’s proposed plan and activities are reasonable, and will
                                            26   promote the orderly and prompt wind up of the Receivership Estate in an
                                            27   expeditious and cost-effective manner. (Mosier Decl., ¶2.) Further, the relief
                                            28   sought is customary and appropriate in closing a Receivership Estate and
                                                                                              -2-
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                                      CASE NO. 09-CV-2901 PSG (EX)
                                                 101668346\V-1
                                         Case 2:09-cv-02901-PSG-E Document 942 Filed 10/24/16 Page 9 of 14 Page ID #:26112



                                             1   discharging the Receiver.
                                             2   III.        APPLICATION FOR FEES AND COSTS (October 1, 2016 to Close)
                                             3               In addition to the other relief sought in this Motion, the Receiver seeks
                                             4   approval and authorization to pay the Receiver’s fees and expenses and the
                                             5   Receiver’s attorneys’ fees and costs incurred from October 1, 2016 through the
                                             6   closing of the Receivership Estate (“Final Fee Period”).
                                             7               The Receiver’s and his professionals’ fees and expenses prior to June 1, 2016
                                             8   have already been approved and/or addressed by prior Court Orders. (See Orders re
                                             9   Fee Applications, Dkt. #s 154, 182, 249, 280, 296, 329, 331, 364, 389, 427, 428,
                                            10   439, 465, 470, 496, 502, 538, 557, 558, 569, 575, 576, 591, 602, 603, 626, 627,
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                            11   638, 651, 653, 672, 673, 674, 727, 728, 773, 774, 775, 801, 808, 809, 810, 820,
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                                            12   826, 834, 836, 840, 844, 847, 849, 852, 854, 859, 862, 864, 872, 875, 880, 882,
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                                            13   887, 893, 895, 900, 901, 902, 909, 910, 911, 916, 921, 928, 930, 941.) From June
                                            14   1, 2016 to September 30, 2016, the Receiver and his professionals incurred fees and
                                            15   expenses of $289,000, which the Receiver will submit and seek approval of in a
                                            16   separate application to be filed with the Court.
                                            17               The Receiver’s anticipated fees and expenses from October 1, 2016 to
                                            18   closing are included in Exhibit 1 to the Receiver’s Final Account and Report. The
                                            19   Receiver estimates, barring any unexpected circumstances, closing expenses from
                                            20   October 1, 2016 through closing and the final distribution of assets to be a total of
                                            21   $165,000, including $75,000 in Receiver’s fees and expenses, $60,000 in attorneys’
                                            22   fees and expenses, $20,000 in record storage/destruction expenses, and $10,000 in
                                            23   other fees and expenses. As presented in the Receiver’s Final Account and Report,
                                            24   the Receiver anticipates that fees and expenses incurred during the Final Fee Period
                                            25   will include the following activities: include the filing and service of this Motion,
                                            26   responding to any objections or questions raised in response to this Motion,
                                            27   preparing a separate Application for fees and expenses for the period June 1, 2016
                                            28   to September 30, 2016, completing the approved final distribution of funds,
                                                                                               -3-
                                                                                                            MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                                       CASE NO. 09-CV-2901 PSG (EX)
                                                 101668346\V-1
                                   Case 2:09-cv-02901-PSG-E Document 942 Filed 10/24/16 Page 10 of 14 Page ID #:26113



                                          1   completing the proposed transfer of assets, addressing litigation issues, settlements,
                                          2   rights, and licenses, required payments of funds, transferring
                                          3   PEMGroup/Receivership records, and other related activities necessary to wind up
                                          4   and close the Receivership Estate.
                                          5               Over the course of the Receivership (including the Final Fee Period), the
                                          6   Receiver has provided a 15% discount off of his standard rates -- and the Receiver
                                          7   and his staff have maintained the same billing rates for the past seven years.
                                          8   (Mosier Decl., ¶4.) The Receiver’s counsel Dentons US LLP is providing a special
                                          9   15% discount on the standard billing rate for attorney Nick S. Pujji and a 10%
                                         10   discount on the standard billing rates of all other timekeepers. (Mosier Decl., ¶4.)
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                                         11               The Court has broad discretion in determining the reasonableness of fees to
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                                         12   be awarded a receiver, and has approved virtually all of the Receiver’s Fee
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                                         13   Applications in their entirety to date. (See In re San Vicente Medical Partners Ltd.,
                                         14   962 F. 2d 1402, 1409-1410 (9th Cir. 1992); Orders re Fee Applications, Dkt. #s 154,
                                         15   182, 249, 280, 296, 329, 331, 364, 389, 427, 428, 439, 465, 470, 496, 502, 538,
                                         16   557, 558, 569, 575, 576, 591, 602, 603, 626, 627, 638, 651, 653, 672, 673, 674,
                                         17   727, 728, 773, 774, 775, 801, 808, 809, 810, 820, 826, 834, 836, 840, 844, 847,
                                         18   849, 852, 854, 859, 862, 864, 872, 875, 880, 882, 887, 893, 895, 900, 901, 902,
                                         19   909, 910, 911, 916, 921, 928, 930, 941.) The Receiver, his professionals, and
                                         20   counsel have reasonably and diligently discharged their duties in this case -- will
                                         21   continue to do through closure of the Receivership Estate. In consideration of the
                                         22   time expended, the services rendered and the recoveries in this case, the Receiver
                                         23   submits that his fees and costs and those of his professionals and counsel will be
                                         24   reasonable and should be approved and authorized for payment in full after they are
                                         25   incurred.
                                         26               Accordingly, the Receiver respectfully requests the Court to approve the fees
                                         27   and expenses of the Receiver and Receiver’s professionals and counsel will incur
                                         28   from October 1, 2016 through the closing of the estate, barring any unexpected
                                                                                            -4-
                                                                                                        MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                                   CASE NO. 09-CV-2901 PSG (EX)
                                              101668346\V-1
                                   Case 2:09-cv-02901-PSG-E Document 942 Filed 10/24/16 Page 11 of 14 Page ID #:26114



                                          1   circumstances, in an amount not to exceed $165,000.
                                          2   IV.         THE COURT SHOULD CONFIRM THE RECEIVER’S POSSESSION
                                          3               AND CONTROL OVER CERTAIN 401(K) ACCOUNTS
                                          4               As part of the wind up of the Receivership Estate, and consistent with the
                                          5   Court’s March 10, 2014 Order authorizing the Receiver to take possession and
                                          6   control of the funds held in Danny Pang’s 401(k) plan account for PEMGroup
                                          7   (Dkt. # 871), the Receiver seeks further authority to take possession and control of
                                          8   the funds held in the PEMGroup 401(k) plan accounts for former PEMGroup
                                          9   directors/employees Leon Chan and Wu Wei.
                                         10               As of September 30, 2016, former PEMGroup director Leon Chan’s (also
601 SOUTH FIGUEROA STREET , SUITE 2500
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                                         11   spelled Lian H. Chan) 401(k) account had a balance of $21,388.47 and former
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                                         12   PEMGroup employee, and affiliate of Danny Pang, Wu Wei’s 401(k) account had a
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                                         13   balance of $10,357.82. (Mosier Decl., ¶4.) Over the course of this case, the
                                         14   Receiver's team has attempted to contact both Mr. Chan and Mr. Wei regarding
                                         15   Receivership matters -- however both have failed to respond to the Receiver,
                                         16   possibly as a general strategy to avoid the Receiver and potential liability stemming
                                         17   from this case. (Mosier Decl., ¶4.) Accordingly, both Mr. Chan and Mr. Wei
                                         18   appear to have abandoned PEMGroup and the funds in their PEMGroup 401(k)
                                         19   accounts. See, e.g., In re W. Auto Pool & Transporting, Inc., No. 05-26369-C-7,
                                         20   2010 WL 9475475, at *2 (Bankr. E.D. Cal. Nov. 18, 2010) (unclaimed property is
                                         21   property that the Trustee may use, sell, or lease…and therefore should be accounted
                                         22   for and delivered to trustee); In re Engman, 395 B.R. 610, 620, n. 14 (Bankr. W.D.
                                         23   Mich. 2008) (trustee may take control of property left by others which remains
                                         24   unclaimed, following adequate notice procedures).
                                         25               Similar to the funds held in Danny Pang’s 401(k) account, the funds held in
                                         26   the accounts of Mr. Chan and Mr. Wei are also traceable to funds provided to
                                         27   PEMGroup by its investors as part of PEMGroup’s fraudulent operations, and thus
                                         28   should be deemed held by a constructive trust for the benefit of those investors, or
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                                                                                                        MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                                   CASE NO. 09-CV-2901 PSG (EX)
                                              101668346\V-1
                                   Case 2:09-cv-02901-PSG-E Document 942 Filed 10/24/16 Page 12 of 14 Page ID #:26115



                                          1   their assignees. (See Order Granting Receiver’s Motion for Order Confirming
                                          2   Constructive Trust for 401(k) Proceeds, Dkt. # 871; Mosier Decl., ¶3.)) “A
                                          3   constructive trust is an equitable remedy that compels the transfer of wrongfully
                                          4   held property to its rightful owner.” Mattel, Inc. v. MGA Entm’t, Inc., 616 F.3d 904,
                                          5   908-09 (9th Cir. 2010) (citing Communist Party of U.S. v. 522 Valencia, Inc., 35
                                          6   Cal. App. 4th 980 (Cal. Ct. App. 1995)). Under California law, a party seeking the
                                          7   imposition of a constructive trust must show: (1) the existence of res (property or
                                          8   some interest in property); (2) the right to that res; and (3) the wrongful acquisition
                                          9   or detention of the res by another party who is not entitled to it.” Id. Stated more
                                         10   plainly, “a constructive trust may be imposed in any situation where there is a
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                                         11   wrongful acquisition or detention of property to which another is entitled.” GHK
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                                         12   Assoc. v. Mayer Group, 224 Cal. App. 3d 856, 878 (Cal. Ct. App. 1990); see also
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                                         13   Cal. Civ. Code §§ 2223, 2224. Here, the funds held in the accounts of Mr. Chan
                                         14   and Mr. Wei are traceable to funds provided to PEMGroup by its investors as part
                                         15   of PEMGroup’s fraudulent operations, and thus should be deemed held by a
                                         16   constructive trust for the benefit of those investors, or their assignees. FTC v.
                                         17   Crittenden, 823 F. Supp. 699, 703 (C.D. Cal. 1993); see also SEC v. Alanar, Inc.,
                                         18   No. 1102-DFH-TAB., 2012 BL 33149 (S.D. Ind. Jan. 26, 2012) (holding that
                                         19   401(k) plan account proceeds must be “turned over to the Receivership Estate for
                                         20   the benefit of harmed investors,” rather than the defendants who were liable for
                                         21   securities fraud); In re Brown,427 B.R. 715, 724 (D. Minn. 2010).)
                                         22               Thus, the Receiver should be authorized to take possession and control over
                                         23   the funds held in the PEMGroup 401(k) accounts of Leon Chan and Wu Wei for the
                                         24   benefit of PEMGroup’s investors and as part of the wind up of the Receivership
                                         25   Estate.
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                                                                                                       MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                                  CASE NO. 09-CV-2901 PSG (EX)
                                              101668346\V-1
                                   Case 2:09-cv-02901-PSG-E Document 942 Filed 10/24/16 Page 13 of 14 Page ID #:26116



                                          1   V.          THE COURT SHOULD APPROVE THE RECEIVER’S NOTICE OF
                                          2               THE HEARING ON THIS MOTION UNDER LOCAL RULE 66-7
                                          3               Pursuant to Local Rules 6-1 and 66-7, the Receiver is required to provide
                                          4   31 days of notice by mail to all parties to the action and all known creditors of the
                                          5   following: “(c) reports of the Receiver; (d) applications for instructions concerning
                                          6   administration of the estate; (e) applications for discharge of the Receiver; and
                                          7   (f) applications for fees and expenses of the Receiver, the attorney for the Receiver
                                          8   and any other person appointed to aid the Receiver.” (Local Rule 66-7(c)-(f).)
                                          9               Although a total of 112 Proofs of Claims (including both Investor and Non-
                                         10   Investor claims) were filed with the Receiver, and all Non-Investor claims have
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 LOS ANGELES , CALIFORNIA 90017-5704




                                         11   been resolved (see, e.g., Orders, Dkt. #s 636, 637, 715, 761, 734, 824), out of an
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                                         12   abundance of caution, the Receiver intends to mail notice of this Motion to all
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                                         13   known potentially interested parties (broader than known creditors), including all
                                         14   Investor and Non-Investor Claimants. Further, despite Local Rule 6-1 requiring
                                         15   only 31 days of notice for mailed notices of motion, given that a number of
                                         16   potentially interested parties outside the United States, the Receiver intends to
                                         17   provide at least 50 days of notice to potentially interested parties worldwide, with
                                         18   an agent in Taiwan available to translate such notices for parties in Taiwan.3
                                         19               Based on the foregoing, the Receiver seeks an Order providing that the notice
                                         20   requirement for the hearing on this Motion shall be deemed fully satisfied if:
                                         21   (a) the Receiver provides notice by mail of the hearing on the Motion to all known
                                         22   potentially interested parties; and (b) the Receiver sends notice by mail to
                                         23   potentially interested parties at least 50 days prior to the hearing on this Motion.
                                         24
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                                         25          The Receiver intends to print the Notice of this Motion in single-spaced, 12
                                              point font, on double-sided pages in order to minimize printing and postage costs.
                                         26   The mailed Notice will further contain preliminary language to interested parties
                                         27   that: IF YOU DO NOT OBJECT, NO ACTION IS REQUIRED. A copy of the
                                              Final Account and Report and supporting documents will be provided upon written
                                         28   request.
                                                                                           -7-
                                                                                                        MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                                   CASE NO. 09-CV-2901 PSG (EX)
                                              101668346\V-1
                                   Case 2:09-cv-02901-PSG-E Document 942 Filed 10/24/16 Page 14 of 14 Page ID #:26117



                                          1   The proposed notice procedure is compliant with the Local Rules, reasonable, and
                                          2   provides adequate notice in light of relevant parties residing in the U.S. and abroad.
                                          3   (Local Rules 6-1, 66-7.)
                                          4   VI.         CONCLUSION
                                          5               Based on the foregoing, the Receiver respectfully requests the Court to grant
                                          6   the Motion and all relief set forth herein, so that the Receiver may proceed to wind
                                          7   up and close the Receivership Estate.
                                          8

                                          9   Dated: October 24, 2016
                                         10                                             DENTONS US LLP
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                                         11
                                                                                        By: /s/Nick S. Pujji
         DENTONS US LLP




                                         12
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                                                                                           NICK S. PUJJI
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                                                                                            Attorneys for Receiver
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                                                                                            Robert P. Mosier
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                                                                                                        MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                                   CASE NO. 09-CV-2901 PSG (EX)
                                              101668346\V-1
